Case 1:16-cr-10305-NMG Document 389 Filed 01/11/49 Page 1 of 8

AO 245B (Rev. 11/16) Judgment in a Criminal Case
Sheet |

 

UNITED STATES DISTRICT COURT

District of Massachusetts

 

 

 

 

 

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
v. )
MARTIN GOTTESFELD Case Number: 1: 16 CR 10305 - 1 - NMG
) USM Number: 12982-104
)
) Pro Se
) Defendant’s Attorney
THE DEFENDANT:
C] pleaded guilty to count(s)
C] pleaded nolo contendere to count(s)
which was accepted by the court.
V1] was found guilty on count(s) 1&2
after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section Nature of Offense Offense Ended Count
18 U.S.C. § 371 Conspiracy 04/20/14 |
18 U.S.C. § 1030(a)(5) Intentional Damage to a Protected Computer 04/20/14 2
(A), 18 U.S.C. § 1030
(c)(4)(B)
The defendant is sentenced as provided in pages 2 through 8 of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
[J The defendant has been found not guilty on count(s)
CJ Count(s) LJ is (Care dismissed on the motion of the United States.

 

_, Itis ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances,

1/10/2019

 

Date of Imposition of Judgment
Signature of Judge

The Honorable Nathaniel M. Gorton
U.S. District Judge

 

Name and Title of Judge

LZuh9
rg

Date

IEA
Case 1:16-cr-103QaeNMG Document 389 Filed O1/11faQ Page 2 of 8

AO 245B (Rev. 11/16) Judgment in Criminal Case
Sheet 2 — Imprisonment

Judgment — Page 2 of
DEFENDANT: MARTIN GOTTESFELD

CASENUMBER: 1:16 CR 10305 - 1 - NMG

IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of. 121 month(s)

This term consists of a term of 120 months on Count 2 and a term of 1 month on Count 1, to be served consecutively.

(The court makes the following recommendations to the Bureau of Prisons:

¥] The defendant is remanded to the custody of the United States Marshal.

C1 The defendant shall surrender to the United States Marshal for this district:

O at Oam OO pm on

 

1 as notified by the United States Marshal.

C] The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

C1 before 2 p.m. on

 

C1 as notified by the United States Marshal.

Cas notified by the Probation or Pretrial Services Office.

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
a , with a certified copy of this judgment.
UNITED STATES MARSHAL
By

 

DEPUTY UNITED STATES MARSHAL
Case 1:16-cr-103QasNMG Document 389 Filed 01/114mQ Page 3 of 8

AO 245B (Rev. 11/16) Judgment in a Criminal Case
Sheet 3 — Supervised Release

 

Judgment—Page 3 of 5
DEFENDANT: MARTIN GOTTESFELD
CASE NUMBER: 1:16 CR 10305 -1 -NMG
SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of : 3 year(s)

This term consists of a term of 3 years on each count, such terms to run concurrently.

MANDATORY CONDITIONS

You must not commit another federal, state or local crime.
You must not unlawfully possess a controlled substance.

You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
imprisonment and at least two periodic drug tests thereafter, as determined by the court.

{] The above drug testing condition is suspended, based on the court's determination that you
pose a low risk of future substance abuse. (check if applicable)
4. J You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
5. C) You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as
directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you

reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
6. ( You must participate in an approved program for domestic violence. (check if appticable)

ts bh

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
Case 1:16-cr-1030@.NMG Document 389 Filed 01/1149 Page 4 of 8

AO 245B (Rev. 11/16) Judgment in a Criminal Case
Sheet 3A — Supervised Release

Judgment—Page o of 8
DEFENDANT: MARTIN GOTTESFELD

CASE NUMBER: 1:16 CR 10305 -1 - NMG

STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
frame.

2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.

3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
court or the probation officer.

4. You must answer truthfully the questions asked by your probation officer.

5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
hours of becoming aware of a change or expected change.

6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
take any items prohibited by the conditions of your supervision that he or she observes in plain view.

7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.

8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted ofa felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.

9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).

11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
first getting the permission of the court.

12. Ifthe probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
person and confirm that you have notified the person about the risk.

13. You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A USS. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature Date

 

 
Case 1:16-cr-1030@NMG Document 389 Filed 01/114@8 Page 5 of 8

AO 245B(Rev. 11/16) Judgment in a Criminal Case
Sheet 3D — Supervised Release

= 5
Jud. t-—P; f
DEFENDANT: MARTIN GOTTESFELD “mF ——— *

CASE NUMBER: 1:16 CR 10305 -1 -NMG

SPECIAL CONDITIONS OF SUPERVISION

1. You are prohibited from discussing with anyone other than your attorney or a representative of the government a) any
information that you gained from the victims’ computer networks during the offense, or b) any information about the
vulnerabilities of the computers, computer programs, or computer networks that were the subject of this offense, unless
specifically authorized by the Probation Officer, after consultation with the United States Attorney's Office.

2. You must participate in a program for substance abuse counseling as directed by the Probation Office, which program
may include testing, not to exceed 50 drug tests per year to determine whether you have reverted to the use of alcohol or
drugs.

3. You must participate in a mental health treatment program and/or evaluation as directed by the Probation Office.

4. You must pay the balance of the restitution imposed according to a court-ordered repayment schedule.

5. You are prohibited from incurring new credit charges or opening additional lines of credit without the approval of the
Probation Office while any financial obligations remain outstanding.

6. You must provide the Probation Office access to any requested financial information, which may be shared with the
Financial Litigation Unit of the U.S. Attorney's Office.

7. You must allow the installation of computer Internet monitoring software on approved Internet capable devices, but may
still use a computer for work purposes that has been previously approved by the Probation Office. You must not attempt to
remove or otherwise defeat such systems, and must allow the Probation Office to examine such computer and receive
data from it at any reasonable time.

8. You must advise anyone using the monitored Internet capable devices that those devices are being monitored by the
Probation Office.

9. You must not possess or use any computer or Internet-capable device without prior approval from the Probation Office.
10. You must disclose all account information relative to Internet access, social networking, and e-mail, including user
names and passwords, to the Probation Office. You must also, if requested, provide a list of all software/hardware on your
computer, as well as telephone, cable, or Internet service provider billing records and any other information deemed
necessary by the Probation Office to monitor your computer usage.

11. You must provide the probation officer with access to any requested financial information for purposes of monitoring
compliance with the imposed computer access/monitoring conditions, including, but not limited to, credit card bills,
telephone bills, and cable/satellite television bills.

12. You must consent to third-party disclosure to any employer or potential employer concerning any computer-related
restrictions that are imposed upon you, unless excused by the probation officer.

13. You shall be required to contribute to the costs of evaluation, treatment, programming, and/or monitoring (see Special
Conditions #3, #4 and #8), based on the ability to pay or availability of third-party payment.
Case 1:16-cr-10305-NMG Document 389 Filed 01/117T9 Page 6 of 8
AO 245B (Rev. 11/16) Judgment in a Criminal Case
Sheet 5 — Criminal Monetary Penalties

6 8
Judgment — Page of
DEFENDANT: MARTIN GOTTESFELD
CASE NUMBER: 1:16 CR 10305 - 1 - NMG

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6,

Assessment JVTA Assessment* Fine Restitution
TOTALS $ 200.00 $ $ $ 442,930.00
(1 The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be entered

after such determination.
1 The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
before the United States is paid.

Name of Payee Total Loss** Restitution Ordered Priority or Percentage
Boston's Children's Hospital $425,159.00
Wayside Youth and Family Support Network $17,771.00
TOTALS § 0.00 §$ 442,930.00

Restitution amount ordered pursuant to plea agreement $

The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[]_ The court determined that the defendant does not have the ability to pay interest and it is ordered that:
(1 the interest requirement is waived forthe (] fine (7 restitution.

(1 the interest requirement for the (J fine OO restitution is modified as follows:

* Justice for Victims of Trafficking Act of 2015, Pub, L. No. 114-22, ; , .
** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
Case 1:16-cr-103@8§NMG Document 389 Filed 01/1177f@ Page 7 of 8

AO 245B (Rev. 11/16) Judgment in a Criminal Case
Sheet SA — Criminal Monetary Penalties

Judgment—Page f of 8

DEFENDANT: MARTIN GOTTESFELD
CASE NUMBER: 1:16 CR 10305 -1 -NMG

ADDITIONAL TERMS FOR CRIMINAL MONETARY PENALTIES

Any payment made, that is not payment in full, shall be divided proportionately among the parties named.

Payment of the restitution shall begin immediately and shall be made according to the requirements of the Federal Bureau
of Prisons’ Inmate Financial Responsibility Program while the defendant is incarcerated and according to a court-ordered
repayment schedule during the term of supervised release.

All restitution payments shall be made to the Clerk, U.S. District Court for transfer to the identified victims. The defendant
shall notify the United States Attorney for this district within 30 days of any change of mailing or residence address that
occurs while any portion of the restitution remains unpaid.
Case 1:16-cr-10305,NMG Document 389 Filed 01/11/19, Page 8 of 8

AO 245B (Rev. 11/16) Judgment in a Criminal Case

Sheet 6 — Schedule of Payments

 

Judgment — Page 8 of
DEFENDANT: MARTIN GOTTESFELD
CASENUMBER: 1:16 CR 10305 -1 -NMG
SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:
A ff Lumpsumpaymentof$ 200.00 due immediately, balance due
CJ _ionot later than , OF
MM inaccordance with (] C, (] D, (| E,or i F below; or
B  [) Payment to begin immediately (may be combined with (OC, (1D,or (CF below); or
Cc Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g. 30 or 60 days) after the date of this judgment; or
D  () Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a
term of supervision; or
E (|) Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or
F  ¥] ‘Special instructions regarding the payment of criminal monetary penalties:

Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate

See Page 7.

Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine

Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,

and corresponding payee, if appropriate.

The defendant shall pay the cost of prosecution.
The defendant shall pay the following court cost(s):

The defendant shall forfeit the defendant’s interest in the following property to the United States:

interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cos rosecution and court costs.

mY
